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                                     THE LAW FIRM OF
                           HUNT, HAMLIN & RIDLEY
                                    COUNSELLORS AT LAW
FOUNDING PARTNERS                                                                      OF COUNSEL
 RONALD C. HUNT                                                                     ISAAC WRIGHT, JR.
                              NEWARK OFFICE                  PATERSON OFFICE
RAYMOND L. HAMLIN                                                                  VIELKA VELAZQUEZ
                             MILITARY PARK BUILDING          418 GRAND STREET      NOELLE VAN BAAREN
 TERRY RIDLEY               60 PARK PLACE, 16TH FLOOR        PATERSON, NJ 07505      DAWN SANFILIPPO
   1956-2012                     NEWARK, NJ 07102                                     ADAM C. BROWN
                                                                                   COURTNEY DURHAM
    _________                      ALL REPLIES TO THE NEWARK OFFICE                   __________________
                                  _________________________________________
  ASSOCIATE COUNSEL                                                               ǂALSO ADMITTED IN NY
   YADIRA C. DURAN
                                             TEL: (973) 242-4471
DENNIS HICKERSON-BREEDON
                                          TELEFAX:(973) 242-8295
                                    E-MAIL: iwright@HuntHamlinRidley.com
                                     WEB SITE: www.HuntHamlinRidley.com

                                                    June 15, 2022

      Via Electronic Filing
      Honorable Marilyn Cox Arleo
      United States District Judge
      U.S. District Court of New Jersey
      Martin Luther King Building
      & U.S. Courthouse
      50 Walnut Street,
      Newark, NJ 07101

      Re:       United States v. Creaghan Harry
                Criminal Case No. 19-246
                The Government’s submission of “supplemental authority”

      Dear Judge Arleo,

      Please accept this letter in-lieu of a more formal brief and in regards to the
      Government’s supplemental filing. ECF No. 258-1.

      Subsequent to Defendant filing a reply to the Government’s opposition, the
      Government has made another filing. This filing is reflected on the docket as an
      opposition, see ECF No. 258, but is described by the Government as
      “supplemental authority,” (ECF No. 258 at p. 1). Its purported purpose is to bring
      to this Court’s attention a third circuit decision in United States v. Adams, No. 19-
      1811 (3d Cir. May. 26, 2022) wherein the Adams court acknowledged “that a
      district court may enter a continuance without citing the Act or referencing the
      ends of justice [‘]so long as the court explains a valid factual basis for the
      continuance on the record[’] and in a manner that shows the court [‘]balanced the


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interests of the public and of all of the defendants.[’] Id. at 12-13 (citing and
quoting United States v. Rivera Constr. Co., 863 F.2d 293, 297 (3d. Cir. 1988)).1

The significance of the Government’s choice in bringing the Adams decision to the
Court’s attention is difficult to discern since the Adams Court did not deliver a new
rule of law or alter the existing precedence “that time resulting from a continuance
is excluded under the STA so long as the district court [‘]state[s] reasons
contemporaneously with an order continuing trial that demonstrate an ends-of-
justice finding[’] and need not [‘]actually us[e] the words [“]ends of justice[”] or
refer[] to the statute at the time of the continuance.[’]” United States v. Lattany,
982 F.2d 866, 879 (3d Cir. 1992). (Emphasis added).

In other words, Adams emphasizes that a district court can “enter a continuance
without citing the Act or referencing the ends of justice [‘]so long as the court
explains a valid factual basis for the continuance on the record[’] and in a manner
that shows the court [‘]balanced the interests of the public and of all of the
defendants.[’]” Adams, supra at 13-14. It must be highlighted that the Adams
court’s “emphasis,” includes the requirement that the district court actually “enter a
continuance.” Id. In fact, Adams supports Defendant’s position that this Court did
not grant an actual “continuance” but merely scheduled the next hearing 90-days
away for purposes of reviewing discovery. ECF No. 253 at p. 8. Further, Adams
is distinguishable.

In Adams, the Court struck down the trial date set in the case and delayed the trial
as a result of Adams’s request for a new attorney, commenting in pertinent part:


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  The Government provides the Adams opinion in an attempt to convince this Court to agree that a continuance
order was entered on October 3, 2019, covering a 90-day period even though no such order was granted or entered.
In addressing this issue, this Court must also be mindful that there are two other significant issues in this case
regarding continuances: (1) The June 23, 2021, continuance entered at ECF No. 186 is impermissibly applied
retroactively to a period between June 1, 2021 and June 23, 2021. See Christie v. United States, Civil Action No. 12-
988 (JLL), 33 n.16 (D.N.J. May. 20, 2015), citing United States v. Brenna, 878 F.2d 117, 122 (3d Cir. 1989) (an
order continuing a case must be entered before the days to be excluded). As a result, 22-days between June 1, 2021
and June 23, 2021 were not tolled under the continuance order. Id.; and (2) the June 23, 2021, continuance expired
on August 31, 2021. ECF No. 186. However, the subsequent continuance did not begin until September 9, 2021,
leaving a gap of 9-days that was not tolled by the continuance. ECF No. 206. This means that in addition to the 112-
days not tolled by a continuance from October 3, 2019 to January 23, 2020, there is an additional 31 days that are
not tolled by a continuance, all resulting in additional non-excludable time.


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         In considering Adams’s pro se motion for new counsel, the Court found that
         there had been an “attorney[-]client breakdown,” J.A. 132, and that Adams
         could not mount a proper defense without new representation. It recognized
         that new counsel would be involved in resolving outstanding discovery
         issues and explicitly warned Adams that, if he moved forward with his
         request to change attorneys, “delay[ing] [his] trial” would be unavoidable
         because the Court would need to find and appoint a “new attorney” and give
         Adams time to “meet with that [] attorney.” J.A. 133. In response, Adams
         repeatedly acknowledged that changing his representation would cause a
         delay and that he nonetheless was requesting new counsel. That colloquy
         reflects that the District Court delayed trial to protect Adams’s Sixth
         Amendment right to counsel, which is a particularly weighty justification for
         a continuance, see Gideon v. Wainwright, 372 U.S. 335, 343 (1963) (“the
         assistance of counsel” in criminal trials has long been recognized as “one of
         the safeguards . . . necessary to insure [sic] fundamental human rights of life
         and liberty” (quoting Johnson v. Zerbst, 304 U.S. 458, 462 (1938))), and
         that, after balancing that right against Adams’s (and the public's) interest in a
         speedy trial, the Court concluded that delaying trial was warranted under
         those circumstances.

Adams, supra at 13-15.

In this case, unlike Adams, there was no “right to counsel” request. There was no
set trial date that had been struck down as a result of Defendant’s right to counsel
requests. There was no delay caused by the Court’s protection of Defendant’s
fundamental right to counsel. There was no colloquy between Defendant and the
Court regarding delays that are inherent in Defendant’s requests. There was no
explicit or constructive inquiry by the Court with Defendant regarding a consent to
a continuance and no explicit or constructive consent by Defendant as a result of
that Colloquy.

This case is nothing like Adams, neither in its facts, nor in the procedural requests
by Adams which caused the delays and prompted warnings from the court with
reference to speedy trial issues. Therefore, in the absence of an explicit order,
verbally or in writing, imposing a continuance, this Court cannot glean one from


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the record. See United States v. Rodriguez, 824 F. Supp. 657, 661 (W.D.Tex.
1993), citing United States v. Brenna, 878 F.2d 117 (3d Cir. 1989)(“Other courts
have recognized that when a judge gives no indication that a continuance was
granted upon a balancing of the factors specified by the Speedy Trial Act, the
danger is great that every continuance will be converted retroactively into a
continuance creating excludable time, which is clearly not the intent of the Act.”)

The dangers of what the Government is requesting this Court to do are outlined by
the Court of Appeals for the Second Circuit:

         While we do not suggest that it occurred here, the procedure followed in this
         case does contain the risk that a district judge in a particular case may
         simply rationalize his action long after the fact, in order to cure an unwitting
         violation of the Act. Moreover, had the district judge in this case stated at
         the time he initially set the trial date, before the speedy trial clock had run,
         that he was granting an ends-of-justice continuance, the parties would have
         been on notice and the whole Speedy Trial Act problem might have been
         avoided.

United States v. Tunnessen, 763 F.2d 74, 78 (2d Cir. 1985). See also United States
v. Janik, 723 F.2d 537, 544-45 (7th Cir. 1983) (“If the judge gives no indication
that a continuance was granted upon a balancing of the factors specified by the
Speedy Trial Act until asked to dismiss the indictment for violation of the Act, the
danger is great that every continuance will be converted retroactively into a
continuance creating excludable time, which is clearly not the intent of the Act.”).

Over three decades ago, the Third Circuit explicitly held “that in its order, the
district court must, at a minimum, state that it is entering…a continuance
pursuant to section 3161(h)(8)(A).” U.S. v. Brenna, 878 F.2d 117, 122 (3d Cir.
1989). (Emphasis added). More to the point, the Brenna Court stated that “the
judge must consider and grant a continuance before time may be excluded
pursuant to section 3161(h)(8)(A)” United States v. Brenna, 878 F.2d 117, 121 (3d
Cir. 1989) (emphasis added) (citing United States v. Carrasquillo, 667 F.2d 382
(3d Cir. 1981).



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This Court made no such “statement” and clearly did not “grant” or enter a
continuance “order” at the October 3, 2019, hearing as the Government tries to
suggest. In as much as Adams has not overruled Brenna, the Government’s
interpretation of Adams is misplace and contrary to well settled law.

Finally, the Government again misplaces the finding in Adams to propose that
submission of papers after a hearing extends tolling of the STA clock for an
additional 30-days. ECF No. 258 at p. 2. This is generally correct. Henderson,
476 U.S. at 331–32 (allowing for the exclusion of thirty days “for the District
Court to take [a motion] under advisement” once the Court received post-hearing
supplementary filings). However, what the Government overlooks is that tolling
related to papers filed after a hearing only occurs when the court is “unable to rule
because it is awaiting the submission by counsel of additional materials…” Adams,
supra at 28.

In the case at bar, Defendant had a hearing on his bail motion on May 30, 2019
(hereinafter “Second Bail Motion.”). ECF No. 20. At that hearing, the Court took
the bail motion under advisement and did not request or require and was not
awaiting additional submissions from counsel(s). See id. As a result and pursuant
to STA time limitations, the time was tolled for a maximum of 30-days until June
29, 2019, when the STA clock began to run again with respects to the Second Bail
Motion. Henderson, 476 U.S. at 328-29 (holding that a maximum of 30 days are
excludable due to a motion being taken under advisement after the conclusion of
a hearing).

However, the Court held another hearing in order to rule on the Second Bail
Motion on July 11, 2019. ECF No. 30. Because the Government made new
proffers opposing release at the July 11, 2019 hearing, that hearing resulted in the
Court requesting additional submissions, which prompted additional hearings that
evolved into subsequent requests for additional papers by the Court, spanning over
180-days.

Since the STA’s 30-day time limitation on the “advisement” period had long
expired by the time the July 11, 2019, hearing occurred, the Government is now
attempting to utilize the subsequent hearings and filings to convince this Court to


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violate the STA’s statute of time limitations by retroactively tolling the STA clock
governing “advisement” so that that specific time limitations provision of the STA
becomes ineffective.

In other words, under the Government’s reasoning, the entire 180-day time period
from May 30, 2019 until November 15, 2019, (See ECF Nos. 85-86, when the
Court decided the Second Bail Motion on the papers), “would be excluded,
effectively ignoring the Act’s mandates of [‘]prompt disposition[’] and the thirty-
day advisement period.” United States v. Noble, 509 F. Supp. 3d 399, 410 (W.D.
Pa. 2020). Simply, because the 30-day time period for advisement had already
expired before the subsequent hearings and additional filings, the retroactive
tolling application requested by the Government is prohibited. See generally Cf.
Brenna, 878 F.2d at 121-22 (acknowledging danger of retroactive rationalization
where judge waits until asked to dismiss) (quoting United States v. Tunnessen, 763
F.2d 74, 78 (2d Cir. 1985); Janik, 723 F.2d at 544-45).

As a result, the Government’s supplemental authority does not change or mitigate
the error and the Government’s position must, therefore, be rejected.


                                 CONCLUSION

For all the foregoing reasons stated above, Defendant respectfully requests and
does pray that this Honorable Court grant his request to dismiss the indictment for
a violation of the STA’s time requirements.

                                                Respectfully submitted,

                                                s/Isaac Wright, Jr. Esq.
                                                Attorney ID No. 015092008


IW/
C:       File



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